CHARLES N. WINSHIP, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Winship v. CommissionerDocket No. 6754.United States Board of Tax Appeals10 B.T.A. 237; 1928 BTA LEXIS 4151; January 26, 1928, Promulgated *4151  Value of inventory determined.  H. A. Mihills, C.P.A., and G. T. Wilkinson, C.P.A., for the petitioner.  George G. Witter, Esq., for the respondent.  ARUNDELL*237  The Commissioner has determined a deficiency of $20,358.56 in income taxes for the year 1921.  There is involved in this proceeding the correctness of petitioner's inventory of goods on hand at his retail store in New York City, which inventory was taken on a basis and at prices different from that used to inventory goods at his factory in Wakefield, Mass.  FINDINGS OF FACT.  The petitioner, an individual doing business under the firm name of Winship, Boit &amp; Co., is a manufacturer of underwear at Wakefield, Mass.  In addition to selling to jobbers from the factory, he owns and operates a store in New York City for the sole purpose of retailing his product.  He kept his books on the accrual basis and filed his return on the basis of the calendar year.  The petitioner divides his inventory into two parts, one for goods on hand at his factory and the other for merchandise in stock at the retail store.  In 1917, 1918, and 1919 the petitioner's closing inventories were returned*4152  on the basis of "cost or market, whichever is lower." To simplify the computation of the factory inventories he first figured them according to jobbers' prices and the totals reached by this method were then reduced by deductions equal to the mark-up.  Jobbers' prices had been computed by adding to cost 5 per cent for *238  discount allowed purchasers and 10 per cent for profit.  The New York inventories in those years were reduced 25 per cent in an attempt to equalize the cost prices as used there and at the factory.  At the close of 1920 the raw material market was unstable and falling and the unfinished goods market was also uncertain.  In the six weeks prior to December 31, 1920, the petitioner had cancellations of bona fide orders amounting to approximately $500,000.  For the taxable year 1920 the petitioner returned his closing factory and retail store inventories on the same basis as in previous years, that is, cost or market, whichever is lower.  In former years cost was invariably lower than market, whereas in 1920 market was uniformly lower than cost.  Factory market values of finished goods for inventory purposes were arrived at by adding to the price of raw material*4153  on December 31, 1920, as obtained from different sellers of yarn, manufacturing cost and overhead.  The closing factory inventory for 1920, priced according to this method, amounted to $217,838.60.  This amount was then reduced 5 per cent for trade discount allowed jobbers on purchases, and the remainder, regarded as 110 per cent of market, was reduced to 100 per cent, or $188,133.30, to provide for an additional drop in the price of material.  The value so arrived at by petitioner was accepted by the Commissioner as representing in fact the value of the factory inventory taken on the basis of cost or market, whichever is lower, and this part of petitioner's inventory is not in dispute.  The retail store inventory as determined by petitioner at the close of 1920 totaled $654,861.42.  Of this amount $639,430.36 was figured on the basis of the petitioner's January 1, 1921, retail price list, less 25 per cent, a deduction regarded as necessary to bring the valuation down to a price the goods would sell for, or what was termed a "realization market." The remainder, $15,431.06, represented the value of discontinued lines of goods at remnant prices.  Using the prices at which the factory*4154  inventory was returned and excluding discontinued lines of goods, the closing retail store inventory for 1920 amounted to $499,455.56.  The excluded class of goods totaled $15,431.06, figured at remnant prices.  The market values of the retail store inventory, exclusive of discontinued lines, at December 31, 1920, based on the then current market for raw material, labor, and overhead, was $578,316.97.  For bookkeeping purposes the petitioner treated his New York store as a jobber.  Goods shipped to it for sale were charged at jobbers' prices.  He considered that his business had two markets, a jobbing market at the plant and a retail market at the retail store.  On an audit of the petitioner's return for 1921 the Commissioner reduced the opening retail store inventory as determined by petitioner *239  an additional 25 per cent, or $163,715.35, in an attempt to make the New York inventory prices approximate the factory prices for identical goods.  The factory inventory was not disturbed.  OPINION.  ARUNDELL: The petitioner has consistently valued his inventories upon the basis of cost or market, whichever is lower.  At December 31, 1920, the market value of merchandise*4155  on hand was uniformly lower than cost and petitioner, consistent with his prior practice, returned the inventory, for the purposes of the tax, at what purported to be the market value thereof.  The inventories at the factory and at the New York retail store were taken separately, the first being returned at a value of $188,133.30 and the latter at a value of $654,861.42, which included certain discontinued lines of merchandise valued, on the basis of remnant prices, at $15,431.06.  In computing income for 1921, petitioner returned the opening inventories at the values stated above.  Respondent accepted the value of $188,133.30, which had been placed thereon by the petitioner, as the market value of the finished goods at the factory, but, in order that the merchandise in the retail store inventory might be valued at the same unit prices at which identical goods in the factory inventory were valued, he reduced the retail store inventory, including the goods valued at remnant prices for which there was no counterpart in the factory inventory, by 25 per cent, or $163,715.35, bringing the retail store inventory down to a value of $491,146.07.  The controversy here involves this action of*4156  respondent in reducing the retail store inventory by $163,715.35.  We are not concerned with the value of the factory inventory of finished goods, since that is not in dispute.  The petitioner returned a market value therefor of $188,133.30, which was accepted by the respondent, and since the pleadings raised no issue in respect thereof, we must leave it as we find it.  The petitioner submitted no evidence in an endeavor to prove the correctness of the retail store inventory as originally valued by him.  As a matter of fact the evidence presented by petitioner in support of the allegation of error proves quite conclusively that the value of $639,430.36 which he placed on the retail store inventory, exclusive of discontinued lines, was not the market value thereof at December 31, 1920.  On the other hand, the evidence is equally convincing that respondent did not accomplish the end which he sought to attain by reducing by 25 per cent the value returned by petitioner for the *240  retail store inventory, and that the result attained by the respondent does not represent the market value of this inventory at the date in question.  The replacement cost of the finished goods*4157  in the retail store inventory, exclusive of discontinued lines, at December 31, 1920, based on the then current market for raw materials, labor and overhead, is shown by the evidence to have been $578,316.97, and this represents the market value of that inventory at the date aforementioned.  To this amount, the petitioner asks that we add a differential of 5 1/2 per cent to cover freight, drayage, and other charges incidental to transportation from factory to retail store in New York, but the evidence is insufficient to support a finding or conclusion as to the proper amount to be added to cover such charges.  The petitioner presented no proof that the discontinued lines of goods had any inventory value different from that placed upon them by the respondent, i.e., $15,431.06, less 25 per cent, or $11,573.30, and respondent's valuation of these goods must stand.  The total market value of the retail store inventory, at December 31, 1920, was not less than $589,890.27.  Judgment will be entered on 10 days' notice, under Rule 50.